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                           UN ITED STA TES DISTR ICT COU RT
                           SOU TH ERN DISTRICT OF FLO RID A

                            CASE NO.11-20100-CR-SElTZ

UN ITED STA TES OF AM ERICA ,

              Plaintiff,


FM N K CRIAD O ,

              Defendant.


                     O RD ER AD O PTING A N D AFFIRM IN G R & R
                     AN D AD JU DIC ATIN G D EFEN D AN T G UILTY

       ThismattercamebeforetheCourtontheReportandRecommendation(R&R)gDE 7811of
theHonorableBany L,Garberrecomm endingthattheDefendantFrank Criado'spleaofguilty be

acceptedandDefendantbeadjudicatedguilty.TheCourthasreviewedJudgeGarber'sR&R and
noobjectionshavebeenfiled.Therefore,based onadenovoreview oftheevidencepresented,it
 ishereby

       ORDERED thattheR&R ofM agistrateJudge GarberisADOPTED and AFFIRM ED,and

ism adethe OrderoftheDistrictCourt:

       DefendantCriado'spleaofguiltyisaccepted,andDefendantCriadoisadjudicatedguiltyas
to Counts 1and 13 ofthelndictm ent.

       DON E AND ORDERED in M iam i,Floridathis Ye day ofApril. 2012.
                                                    #'




                                       PA TRICIA A .SEI Z
                                       UN ITED STATES D ISTRICT JU D G E
Copies to:
A 1lCounselofRecord
Judge B arry L.G arber
